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                          Exhibit B
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Case No.            Case Name
9:20-cv-81011       Abulawy v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-18856       Adam v. Boehringer Ingelheim Corporation
3:23-cv-10486       Agnello v. Boehinger Ingelheim Corporation
3:23-cv-17807-RLR   Allday v. Boehringer Ingelheim Corporation
9:20-cv-81874-RLR   Allen v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-18442-RLR   Allen v. Glaxosmithkline (America), Inc.
9:20-cv-81565-RLR   Allen v. SANOFI S.A., et al.
3:23-cv-16344       Alley v. Glaxosmithkline, LLC.
9:21-cv-80404       Anderson v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-17536-RLR   Anderson v. Glaxosmithkline (America), Inc.
3:23-cv-15079       Anglin v. Boehringer Ingelheim Corporation
3:23-cv-16472       Auxier v. Amneal Pharmaceuticals of New York, LLC.
1:20-cv-23518       Badore v. Sanofi-Aventis US, LLC
3:23-cv-16068       Bagley v. Glaxosmithkline, LLC.
3:23-cv-13410       Bailey v. Boehringer Ingelheim Corporation
3:23-cv-13722       Baitey v. Glaxosmithkline, LLC.
9:20-md-02924-RLR   Baldwin, et al. v. Boehringer Ingelheim, et al.
3:23-cv-11377       Ball v. Boehringer Ingelheim Pharmaceuticlas, Inc.
3:23-cv-15935       Banks-Fleming v. Boehringer Ingelheim Corporation
3:23-cv-17043       Barnett v. Boehringer Ingelheim Corporation
3:23-cv-21264       Barone v. Boehringer Ingelheim Corporation
9:21-cv-80956-RLR   Barrett v. Rite Aid
3:23-cv-17485-RLR   Bates v. Boehringer Ingelheim Corporation
3:23-cv-21535       Bauer v. Boehringer Ingelheim Corporation
3:23-cv-21204       Beard v. Boehringer Ingelheim Corporation
3:23-cv-10019       Beaupre v. Glaxosmithkline, Inc.
3:23-cv-12577       Becker v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-13092       Bedilion v. Boehringer Ingelheim Pharmaceuticals, Inc.
9:21-cv-80131-RLR   Benedicto v. Boehringer Ingelheim Pharmaceuticals, Inc. et al
3:23-cv-15491       Bentley v. Glaxosmithkline, LLC.
9:20-cv-81527-RLR   Bermingham v. Sanofi S.A., et al.
3:23-cv-17001       Bermudez v. Boehringer Ingelheim Corporation
3:23-cv-11762       Besant v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-19103       Bevins v. Boehringer Ingelheim Corp.
3:23-cv-11591       Bibb v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-10672       Bibeau v. Ajanta Pharma USA, Inc.
3:23-cv-12695       Bittle v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-21695       Black Jr. v. Boehringer Ingelheim Corporation
3;23-cv-17948       Black v. Boehringer Ingelheim Corporation
3:23-cv-14370       Blake v. Glaxosmithkline, LLC.
9:20-cv-80501-RLR   Blevins v. Sanofi US Services, Inc.
3:23-cv-15147       Blondin v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-21320       Blume v. Boehringer Ingelheim Corporation
3:23-cv-17812-RLR   Blythe Sr v. Glaxosmithkline (America), Inc.
3:23-cv-11838       Boggs v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-22435       Boileau c. Catalytica Pharmaceutical, Inc.
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3:23-cv-12296       Bolger v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-18994       Boothe v. Boehringer Ingelheim Corporation
9:21-cv-81655-RLR   Bornstein v. Pfizer, Inc.
9:23-cv-80057       Bracero v. Glaxosmithkline, Inc.
3:23-cv-11103       Bradshaw v. Glaxosmithkline, LLC
9:20-cv-81793-RLR   Brennan v. Sanofi, SA
3:23-cv-16992       Bridges v. Amenal Pharmaceuticals, Inc.
3:23-cv-15438       Brimhall v. Glaxosmithkline, LLC
3:23-cv-22440       Brooks v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-10950       Brown v. Boehringer Ingelheim Corporation
3:23-cv-11918       Brown v. Boehringer Ingelheim Corporation
3:23-cv-15574       Brown v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-13713       Brown v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-19857       Brown-Supert v. Boehringer Ingelheim Corporation
3:23-cv-11904       Brubaker v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-10028       Burdett v.v. Boehringer Ingelheim Corporation
3:23-cv-16005       Burker v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-15463       Burt v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-21547       Butcher v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-15273       Butler v. Boehringer Ingelheim Pharmaceuticals, Inc.
9:20-cv-80704-RLR   Butler-Sloss, Victoria (Individually and as anticipated personal
                    representative of the estate of William Butler-Sloss) v. Sanofi US
                    Services, Inc.
3:23-cv-12707       Byerly v. Boehringer Ingelheim Pharmaceuticals, Inc.
9:20-cv-82170-RLR   Bywater v. Boehringer Ingelheim Pharmaceuticals, Inc.
9:23-cv-80339       Caldwell v. Pfizer, Inc.
3:23-cv-21243       Camileo v. Glaxosmithkline (America), Inc.
3:23-cv-12817       Campbell v. Boehringer Ingelheim Pharmacueticals, Inc.
3:23-cv-10756       Canady v. Apotex Corporation
3:23-cv-13103       Cantrell v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-20344       Caparosa v. Boehringer Ingelheim Corporation
3:23-cv-17976       Capela v. Glaxosmithkline (America), Inc.
3:23-cv-11388       Carrillo v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-18417-RLR   Carter v. Glaxosmithkline (America), Inc.
3:23-cv-17934       Carter v. Glaxosmithkline (America), inc.
3:23-cv-18417-RLR   Carter v. Glaxosmithkline (America), inc.
3:23-cv-14422       Carter v. Glaxosmithkline, LLC
3:23-cv-10508       Caruso v. Boehinger Ingelheim Corporation
3:23-cv-11048       Carvajal v. Glaxosmithkline, LLC
3:23-cv-17974       Causey v. Glaxosmithkline (America), Inc.
3:23-cv-10015       Cella v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-13106       Chambers v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-21641       Chance v. Boehringer Ingelheim Pharmaceuticals, Inc.
9:20-cv-81865-RLR   Chandler v. Sanofi US Services, Inc.
3:23-cv-18084       Chavis v. Glaxosmithkline, Inc.
3:23-cv-18084       Chavis v. Glaxosmithkline, LLC.
3:23-cv-10085       Chayes v. Boehringer Ingelheim Corporation
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3:23-cv-11323       Cheeks v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-10067       Cherpes v. Glaxosmithkline, Inc.
3:23-cv-17153-RLR   Chesser v. Boehringer Ingelheim Corporation
3:23-cv-17497-RLR   Chesser v. Glaxosmithkline (America) Inc.
3:23-cv-19088       Christensen v. Boehringer Ingelheim Corporation
3:23-cv-10094       Cicco v. Boehringer Ingelheim Corporation
3:23-cv-17793       Ciorlano v. Boehringer Ingelheim Pharmaceuticals, Inc.
9:21-cv-82223-RLR   Ciotti v. Sanofi
9:23-cv-80130       Cizin v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-80130       Cizin v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-13253       Clark v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-12965       Clark v. Glaxosmithkline, LLC.
3:23-cv-15585       Claypoole v. Glaxosmithkline, Inc.
3:23-cv-12520       Cline v. Boehringer Ingelheim Corporation
3:23-cv-10651       Clowers v. Ajanta Pharma USA, Inc.
3:23-cv-14534       Clyde v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-10081       Cobb v. Boehringer Ingelheim Corporation
3:23-cv-13131       Cobb v. Glaxosmithkline, LLC
3:23-cv-10741       Coleman v. Ajanta Pharma USA, Inc.
3:23-cv-15468       Collier III v. Rite Aid Corporation
3:23-cv-22089       Collins v. Boehringer Ingelheim Corporation
3:23-cv-10062       Colwell v. Ajanta Pharma USA, Inc.
3:23-cv-11221       Conley v. Boehringer Ingelheim Pharmaceuticals, Inc.
9:20-cv-82426-RLR   Connolly v. Boehringer Ingelheim USA Corporation
3:23-cv-17272       Contini v. Glaxosmithkline, LLC.
3:23-cv-14965       Conway v. Boehringer Ingelheim Corporation
3:23-cv-10876       Cooper v. Amneal Pharmaeuticals of New York, LLC
3:23-cv-10517       Cooper v. Aurobindo Pharma USA, Inc.
3:23-cv-12097       Cox v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-11579       Cox v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-17769       Cross v. Glaxosmithkline (America), Inc.
3:23-cv-10496       Crouch v. Ajanta Pharma USA, Inc.
9:23-cv-80572       Crow v. Boehringer Ingelheim
3:23-cv-10564       Crystal v. Apotex Corporation
3:23-cv-13220       Cucinotta v. Rite Aid Corporation
3:23-cv-13375       Cullen v. Glaxosmithkline, LLC
3:23-cv-10567       Culpepper v. Apotex Corporation
3:23-cv-10075       Cunningham v. Ajanta Pharma USA, Inc.
3:23-cv-22301       Cunningham v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-15379       Curci v. Rite Aid Corporation
3:23-cv-10905       Curry v. Boehringer Ingelheim Corporation
9:23-cv-80574       D. v. Boehringer Ingelheim
3:23-cv-17310       Daff v. Glaxosmithkline, LLC.
3:23-cv-10744       Daly v. Boehringer Ingelheim Corporation
3:23-cv-19544       Daniels v. Boehringer Ingelheim Corporation
3:23-cv-13517       Dau v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-11131       Daugherty v. Amneal Pharmacueitcals of New York, LLC.
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3:23-cv-18875       David v. Boehringer Ingelheim Corporation
3:23-cv-13533       Davidson v. Boehringer Ingelheim Corporation
3:23-cv-10597       Davis v. Ajanta Pharma USA, Inc.
3:23-cv-17977       Davis v. Boehringer Ingelheim Corporation
3:23-cv-13856       Davis v. Glaxosmithkline, LLC
3:23-cv-15469       Davis v. Glaxosmithkline, LLC
9:21-cv-81644-RLR   Davis v. Pfizer, Inc.
9:21-cv-81717-RLR   DeGrazia v. Pfizer, Inc. et al
3:23-cv-10915       Degroot v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-21297       Dehmlow v. Boehringer Ingelheim Corporation
1:20-cv-22149       Deihimi v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-15877       Demarchis v. Glaxosmithkline, LLC.
3:23-cv-18556       Denuccio v. Boehringer Ingelheim Corporation
3:23-cv-13316       Dethman v. Glaxosmithkline, LLC
3:23-cv-13545       Di Benedetto v. Glaxosmithkline (America), Inc.
3:23-cv-11466       Diamond v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-12984       Dickerson v. Rite Aid Corporation
3:23-cv-10834       Dixon v. Amneal Pharmaeuticals of New York, LLC
3:23-cv-13662       Dixon v. Glaxosmithkline, LLC.
3:23-cv-15670       Doggendorf v. Boehringer Ingelheim Pharmaceuticlas, Inc.
3:23-cv-11021       Donnell v. Apotex Corporation
3:23-cv-11568       Dooley v. Boehringer Ingelheim Pharmaceuticlas, Inc.
3:23-cv-13108       Douglas v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-12893       Dowdy v. Glaxosmithkline, LLC.
3:23-cv-15144       Downey v. Glaxosmithkline, LLC
3:23-cv-13472       Drost v. Glaxosmithkline, LLC.
9:21-cv-80077-RLR   Duffy v. Glaxosmithkline, LLC.
9:20-md-02924-RLR   Dunn v. Boehringer Ingelheim, et al.
3:23-cv-10839       Dynda v. Ajanta Pharma USA, Inc.
3:23-cv-11984       Easley v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-13046-      El v. Glaxosmithkline, LLC.
3:23-cv-13487       Elleson v. Glaxosmithkline, LLC.
3:23-cv-12918       England v. Glaxosmithkline, LLC.
3:23-cv-19104       English v. Glaxosmithkline (America), Inc.
3:23-cv-15938       Estrada v. Glaxosmithkline, LLC
3:23-cv-20996       Evans v. Boehringer Ingelheim Corporation
3:23-cv-16416       Eveler v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-19200       Faries v. Boehringer Ingelheim Corporation
3:23-cv-16786       Farmer v. Boehringer Ingelheim Corporation
3:23-cv-10226       Feldkamp v. Boehringer Ingelheim Corporation
9:21-cv-81453-RLR   Felter v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-19824       Fenswick v. Glaxosmithkline, LLC.
3:23-cv-10079       Ferrara v. Boehringer Ingelheim Corporation
3:23-cv-11743       Ferris v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-12192       Fetter v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:21-cv-01080       Figeroa v. Glaxosmithkline, LLC
3:23-cv-10395       Finley v. Boehringer Ingelheim Corporation
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9:23-cv-80540       Flanagan v. Boehringer Ingelheim
3:23-cv-11179       Fletcher v. Boehringer Ingelheim Pharmaceuticlas, Inc.
3:23-cv-12383       Fletcher v. Boehringer Ingelheim Pharmaceuticlas, Inc.
3:23-cv-15436       Ford v. Boehringer Ingelheim Corporation
3:23-cv-10718       Forster v. Glaxosmithkline, LLC.
3:23-cv-22391       Fosella v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-17077       Fratianni v. Ajanta Pharma USA, Inc.
3:23-cv-21733       Fredette v. Ajanta Pharma USA, Inc.
3:23-cv-11072       Freedland v. Apotex Corporation
3:23-cv-14839       Freeman v. Boehringer Ingelheim Corporation
3:23-cv-10293       Freeman v. Boehringer Ingelheim Corporation
3:23-cv-20163       Frink v. Boehringer Ingelheim Corporation
3:23-cv-20208       Fuhs v. Boehringer Ingelheim Corporation
3:23-cv-11386       Fulton v. Amneal Pharmaeuticals of New York, LLC
3:23-cv-17862-RLR   Gaines v. Boehringer Ingelheim Corporation
3:23-cv-21255       Gallagher v. Apotex Corporation
3:23-cv-19253       Garnes v. Boehringer Ingelheim Corporation
3:23-cv-18896       Garofalo v. Glaxosmithkline (America), Inc.
3:23-cv-21343       Garren v. Boehringer Ingelheim Corporation
9:20-cv-81439       Garrett v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-20164       Garrison v. Boehringer Ingelheim Corporation
9:20-cv-81969-RLR   Garvey v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-15974       Gerahty v. Glaxosmithkline, LLC.
3:23-cv-12900       Gibbons v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-11792       Gibbons v. Glaxosmithkline, LLC.
3:23-cv-10276       Giberson v. Boehringer Ingelheim Corporation
3:23-cv-19082       Gilbert v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-20165       Gillian v. Boehringer Ingelheim Corporation
3:23-cv-10161       Gilman v. Glaxosmithkline, Inc.
3:23-cv-14495-RLR   Glavish v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-10514       Glines v. Ajanta Pharma USA, Inc.
3:23-cv-16264       Goetsch v. Glaxosmithkline, LLC.
3:23-cv-19928       Goldsmith v. Boehringer Ingelheim Corporation
3:23-cv-14221       Gomez v. Glaxosmithkline (America), Inc.
3:23-cv-12521       Gonzalez v. Rite Aid Corporation
3:23-cv-15054       Graham v. Boehringer Ingelheim Corporation
3:23-cv-16311       Grant v. Boehringer Ingelheim Corporation
3:23-cv-19275       Gratch v. Boehringer Ingelheim Corporation
3:23-cv-12514       Graves v. Boehringer Ingelheim Corporation
3:23-cv-10907       Graves v. Amneal Pharmaeuticals of New York, LLC
9:21-cv-81680-RLR   Green v. Pfizer, Inc.
3:23-cv-21662       Greene v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-13171       Grimley Boehringer Ingelheim Corporation
3:23-cv-13580       Grosick v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-22180       Groves v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-22055       Guarriello v. Boehringer Ingelheim
3:23-cv-12251       Guillen v. Boehringer Ingelheim Pharmaceuticals, Inc.
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3:23-cv-13808       Gulley v. Rite Aid Corporation
9:20-cv-82402-RLR   Hagerty v. Pfizer, Inc.
3:23-cv-22008       Hainsworth v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-22104       Hale v. Boehringer Ingelheim Corporation
3:23-cv-15283       Hall v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-16421       Hall v. Boehringer Ingelheim Pharmaceuticlas, Inc.
3:23-cv-10518       Hampton-James v. Boehinger Ingelheim Corporation
3:23-cv-16975       Hankerson v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-11374       Hansut v. Boehringer Ingellheim Corporation
3:23-cv-14420       Hardeman v. Boehringer Ingelheim Corporation
3:23-cv-12523       Harris v. Rite Aid Corporation
3:23-cv-11661       Hart v. Boehringer Ingelheim Pharmaceuticlas, Inc.
9:21-cv-81683-RLR   Hartman v. Pfizer, Inc.
3:23-cv-11712       Hayman v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-10179       Hazelton v. Boehringer Ingelheim Corporation
3:23-cv-12379       Headley v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-12451       Hedrick v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-19323       Heifner v. Boehringer Ingelheim Corporation
3:23-cv-14478       Henderson v. Glaxosmithkline, LLC
3:23-cv-18063       Henderson v. Glaxosmithkline, LLC.
3:23-cv-18063       Henderson v. Glaxosmithkline, LLC.
3:23-cv-15622       Henges v. Boehringer Ingelheim Pharmaceuticlas, Inc.
3:23-cv-11791       Hensley v. Boehringer Ingelheim Pharmaceuticals, Inc.
9:20-cv-82223-RLR   Herrington v. Glaxosmith, LLC
3:23-cv-15382       Hicks v. Boehringer Ingelheim Corporation
3:23-cv-17480-RLR   Higgs v. Boehringer Ingelheim Corporation
3:23-cv-12182       Hill v. Ajanta Pharma USA, Inc.
3:23-cv-17755-RLR   Hill v. Boehringer Ingelheim Corporation
3:23-cv-10858       Hill v. Glaxosmithkline, Inc.
3:23-cv-15767       Hinton v. Boehringer Ingelheim Pharmaceuticlas, Inc.
3:23-cv-13766       Hitchcock v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-12246       Hodge v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-20089       Hoffman v. Boehringer Ingelheim Corporation
3:23-cv-19101       Hogan v. Boehringer Ingelheim Corp.
3:23-cv-10402       Hoge v. Boehringer Ingelheim Corporation
3:23-cv-17084       Holderman v. Glaxosmithkline, Inc.
3:23-cv-16830       Hollern v. Boehringer Ingelheim Corporation
3:23-cv-17016       Homburg v. Apotex Corporation
3:23-cv-20172       Hopkins v. Boehringer Ingelheim Corporation
9:20-cv-82354-RLR   Horrivathkhah v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-12708       Houston v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-11208       Huffman v. Glaxosmithkline, LLC.
3:23-cv-11878       Hug v. Ajanta Pharma USA, Inc.
3:23-cv-22505       Huggins v. Boehringer Ingelheim
3:23-cv-18133-RLR   Hulsey v. Boehringer Ingelheim Corporation
3:23-cv-15981       Human v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-19182       Hunt v. Boehringer Ingelheim Corp.
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3:23-cv-11921       Hutchinson v. Boehringer Ingelheim Pharmaceuticlas, Inc.
3:23-cv-11098       Hyte v. Aurobindo Pharma USA, Inc.
3:23-cv-12176       Irish v. Boehringer Ingelheim Corporation
3:23-cv-13276       Jeffers v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-19309       Jennings v. Boehringer Ingelheim Corp.
9:23-cv-80122       Jesse v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-15341       Jiminez v. Boehringer Ingelheim Pharmaceuticals, Inc.
9:20-cv-81685-RLR   Johnson v. Boehringer Ingelheim Pharmaceuticals Inc., et al.
3:23-cv-11229       Johnson v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-15128       Johnson v. Boehringer Ingelheim Pharmaceuticlas, Inc.
3:23-cv-15245       Johnson v. Glaxosmithkline, LLC
3:23-cv-14670       Jones v. Boehringer Ingelheim Corporation
3:23-cv-13306       Jones v. Boehringer Ingelheim Pharmaceuticals, Inc.
9:20-cv-82288-RLR   Jones v. Sanofi, SA
3:23-cv-13408       Jones-White v. Glaxosmithkline, LLC
3:23-cv-17940       Joyner v. Boehringer Ingelheim Corporation
3:23-cv-16937       Kamen v. Amneal Pharmaceuticals, LLC.
3:23-cv-13463       Kanelong v. Glaxosmithkline, LLC
3:23-cv-13875       Kebbo v. Glaxosmithkline, LLC.
9:21-cv-80479       Keeler v. Boehringer Ingelheim Pharmaceuticals, Inc
3:23-cv-11153       Keller v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-13555       Kelly v. Boehringer Ingelheim Corporation
3:23-cv-22811       Khani v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-17868       Kimberly v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-12899       Kimble v. Glaxosmithkline, LLC.
3:23-cv-13460       Kinney v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-22591       Kirk v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-16224       Kirkland v. Boehringer Ingelheim Corporation
3:23-v-16224        Kirkland v. Boehringer Ingelheim Corporation
3:23-cv-16935       Kister v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-18007       Klass-Christopher v. Boehringer Ingelheim Corporation
3:23-cv-13658-      Klett v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-17631       Kline v. Glaxosmithkline (America), Inc.
3:23-cv-11397       Knops v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-11515       Kofidis v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-14349       Kohler v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-12864       Kotula v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-13176       Kravljaca Boehringer Ingelheim Corporation
3:23-cv-15383       Lanni v. Boehringer Ingelheim Corporation
9:20-cv-80834       Lazarvitch v. Glaxosmithkline, LLC
3:23-cv-10052       Ledgin v. Boehringer Ingelheim Corporation
3:23-cv-20177       Ledune v. Boehringer Ingelheim Corporation
3:23-cv-17866-RLR   LeGates v. Boehringer Ingelheim Corporation
3:23-cv-10319       Lester v. Boehringer Ingelheim Corporation
3:23-cv-13317       Lester v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-13159       Levine v. Boehringer Ingelheim Pharmaceuticals, Inc.
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3:23-cv-16711       Mitchell v. Boehringer Ingelheim Corporation
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3:23-cv-16949       Poplaski v. Boehringer Ingelheim Pharmaceuticals, Inc.
3:23-cv-16520       Potalivo v. Boehringer Ingelheim Corporation
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